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 1   Jeremy S. Golden (SBN 228007)
     Golden & Cardona-Loya, LLP
 2   3130 Bonita Road, Suite 200B
 3   Chula Vista, CA 91910
     jeremy@goldencardona.com
 4
     Phone: 619-476-0030; Fax: 775-898-5471
 5   Attorney for Plaintiffs
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 8
                                  UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
10
11   ROCIO GARCIA, an individual, and              ) Case No.: 15cv1690-JLS-RBB
     EDWARD R. GARCIA, JR., an                     )
12   individual,                                   ) Plaintiffs’ Notice of Dismissal
13                                                 )
                  Plaintiffs,                      )
14
                                                   )
15   v.                                            )
16
                                                   )
     LAW OFFICES OF SAM CHANDRA,                   )
17   APC, a professional corporation; and          )
18   DOES 1 through 10, inclusive,                 )
                                                   )
19                  Defendants.                    )
20                                                 )
21
22          Plaintiffs dismiss the entire action with prejudice pursuant to Fed.Rule of Civ. Pro.
23   41(a)(1)(A)(i).
24
25
     Dated: September 23, 2015
                                             __s/Jeremy S. Golden________________________
26                                           Jeremy S. Golden
27                                           Attorney for Plaintiff
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                                          Plaintiff’s Notice of Dismissal
